                                   Case: 16-12511               Doc: 1        Filed: 06/28/16             Page: 1 of 50


Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF OKLAHOMA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                MR Roof Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Interstate Roofing & Sheet Metal
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1905 S. Eastern Ave.
                                  Moore, OK 73160
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cleveland                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case: 16-12511              Doc: 1          Filed: 06/28/16               Page: 2 of 50
Debtor    MR Roof Inc.                                                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                    Case: 16-12511                Doc: 1         Filed: 06/28/16              Page: 3 of 50
Debtor   MR Roof Inc.                                                                               Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                          preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                          A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or           No
    have possession of any
    real property or personal                 Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                     Yes.
    property that needs
    immediate attention?                      Why does the property need immediate attention? (Check all that apply.)
                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                What is the hazard?
                                                 It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                 Other
                                              Where is the property?
                                                                               Number, Street, City, State & ZIP Code
                                              Is the property insured?
                                                 No
                                                 Yes.    Insurance agency
                                                         Contact name
                                                         Phone



         Statistical and administrative information

13. Debtor's estimation of      .          Check one:
    available funds
                                              Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of              1-49                                             1,000-5,000                                 25,001-50,000
    creditors                        50-99                                            5001-10,000                                 50,001-100,000
                                     100-199                                          10,001-25,000                               More than100,000
                                     200-999

15. Estimated Assets                 $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities            $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                  Case: 16-12511                Doc: 1          Filed: 06/28/16               Page: 4 of 50
Debtor    MR Roof Inc.                                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 28, 2016
                                                  MM / DD / YYYY


                             X   /s/ Mavis or Ron Rogers                                                  Mavis or Ron Rogers
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President / VP




18. Signature of attorney    X   /s/ Reese Allen                                                           Date June 28, 2016
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Reese Allen
                                 Printed name

                                 Allen & King, P.C.
                                 Firm name

                                 10300 Greenbriar Place
                                 Oklahoma City, OK 73159
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (405) 691-2555                Email address      reesallen@aol.com

                                 215
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                                      Case: 16-12511                     Doc: 1         Filed: 06/28/16            Page: 5 of 50




 Fill in this information to identify the case:

 Debtor name         MR Roof Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          June 28, 2016                           X /s/ Mavis or Ron Rogers
                                                                       Signature of individual signing on behalf of debtor

                                                                       Mavis or Ron Rogers
                                                                       Printed name

                                                                       President / VP
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                             Case: 16-12511                              Doc: 1                Filed: 06/28/16                           Page: 6 of 50

 Fill in this information to identify the case:

 Debtor name            MR Roof Inc.

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,369,645.35

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,369,645.35


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $            69,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       15,985,265.01


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         16,054,265.01




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                                      Case: 16-12511                 Doc: 1      Filed: 06/28/16        Page: 7 of 50

 Fill in this information to identify the case:

 Debtor name         MR Roof Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Chase Business                                          Checking                        2141                                             $9.11




           3.2.     Chase Business                                          Savings                         6895                                         $12.99




           3.3.     Chase Bank Pay roll account                             Checking                        8190                                     $2,702.66



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $2,724.76
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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                                      Case: 16-12511                     Doc: 1      Filed: 06/28/16            Page: 8 of 50


 Debtor         MR Roof Inc.                                                                       Case number (If known)
                Name


        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 16,884.10   -                          10,123.55 = ....         $6,760.55
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 92,802.40   -                          92,802.40 = ....         Unknown
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 50,862.70   -                          25,431.35 = ....       $25,431.35
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  7,112.00   -                           3,556.00 = ....         $3,556.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                            114,822.00       -                          57,411.00 = ....       $57,411.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 38,390.00   -                          19,195.00 = ....       $19,195.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                            127,091.58       -                          63,545.79 = ....       $63,545.79
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  3,035.50   -                           1,517.75 = ....         $1,517.75
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                            136,170.00       -                          68,085.00 = ....       $68,085.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                            375,200.00       -                        187,600.00 = ....      $187,600.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 28,943.50   -                          14,471.75 = ....       $14,471.75
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  7,336.00   -                           3,668.00 = ....         $3,668.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                            270,000.00       -                        135,000.00 = ....      $135,000.00
                                              face amount                            doubtful or uncollectible accounts



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 2
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 Debtor         MR Roof Inc.                                                                       Case number (If known)
                Name


           11a. 90 days old or less:                                  6,346.00   -                           3,173.00 = ....         $3,173.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 13,630.00   -                           6,815.00 = ....         $6,815.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   114.30    -                               57.15 = ....            $57.15
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  5,900.00   -                           2,950.00 = ....         $2,950.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                            285,480.00       -                        142,740.00 = ....      $142,740.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                            251,955.00       -                        125,977.50 = ....      $125,977.50
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                            274,864.50       -                        137,432.25 = ....      $137,432.25
                                              face amount                            doubtful or uncollectible accounts




           11b. Over 90 days old:                                      450.00    -                            450.00 =....                 $0.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                     4,820.91   -                          4,820.91 =....           Unknown
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                     1,142.15   -                          1,142.15 =....           Unknown
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                    34,596.34   -                        34,596.34 =....            Unknown
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                               124,560.00       -                        62,280.00 =....          $62,280.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                       99.00    -                             99.00 =....           Unknown
                                              face amount                            doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 3
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                                    Case: 16-12511                      Doc: 1         Filed: 06/28/16            Page: 10 of 50


 Debtor         MR Roof Inc.                                                                          Case number (If known)
                Name


           11b. Over 90 days old:                                    49,393.00   -                           49,393.00 =....                       Unknown
                                              face amount                               doubtful or uncollectible accounts



           11b. Over 90 days old:                                    19,380.00   -                           19,380.00 =....                       Unknown
                                              face amount                               doubtful or uncollectible accounts



           11b. Over 90 days old:                                     2,179.15   -                             2,179.15 =....                      Unknown
                                              face amount                               doubtful or uncollectible accounts



           11b. Over 90 days old:                                      300.00    -                               300.00 =....                      Unknown
                                              face amount                               doubtful or uncollectible accounts



           11b. Over 90 days old:                                      242.17    -                               242.17 =....                      Unknown
                                              face amount                               doubtful or uncollectible accounts



           11b. Over 90 days old:                                    53,257.00   -                           26,628.50 =....                     $26,628.50
                                              face amount                               doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                               $1,094,295.59
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                       Net book value of         Valuation method used   Current value of
                                                                                     debtor's interest         for current value       debtor's interest
                                                                                     (Where available)

 39.       Office furniture
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 4
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                                    Case: 16-12511                   Doc: 1     Filed: 06/28/16         Page: 11 of 50


 Debtor         MR Roof Inc.                                                                  Case number (If known)
                Name

           7 desks, 2 confernce tables, 3 computers, 11
           chairs, 2 plotters for plans, 1 tv, tv stand, 2
           wood cabinets, 3 printers, 8 filing cabinets, 4
           magazine racks, 2 dry erase board, 2 wood
           shelves, 2 wood printer stands, 1 metal printer
           stand, 1 credenza, 1 computer stand, 2
           wooden paper racks, drafting table, misc.
           desk, typewriter, 2 plastic racks with 5
           shelves, misc. office supplies                                                   $0.00                                              $0.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                   $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2009 Ford F350 4 door flatbed Dually
                     with 189K miles                                                        $0.00                                      $14,700.00


           47.2.     2013 Ford Crew Cab Eco Boost XLT
                     F150 with 68K miles                                                    $0.00                                      $35,000.00


           47.3.     2013 Ford F150 4 door Crew Cab Eco
                     Boost XLT with 70K miles                                               $0.00                                      $35,000.00


           47.4.     2004 Ford F250 4 door Superduty with
                     535K miles                                                             $0.00                                      $11,000.00


           47.5.     2000 Ford F350 with 450K miles                                         $0.00                                        $5,000.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 5
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                                    Case: 16-12511                   Doc: 1     Filed: 06/28/16        Page: 12 of 50


 Debtor         MR Roof Inc.                                                                 Case number (If known)
                Name

           47.6.     2010 Ford F150 2 door single cab with
                     260K miles                                                             $0.00                             $9,000.00


           47.7.     2010 14ft dump trailer                                                 $0.00                             $5,000.00


           47.8.     18' Dove tail trailer - Has no Title                                   $0.00                               $800.00


           47.9.     16 Trailer - has no title                                              $0.00                               $600.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Electric Shear & Brake Lease                                                     $0.00                           $69,000.00


           10-Misc. Extension cords, 2-electric heat
           blankets for rools, 3-3ft nail thumpers, 1-4'
           hand brake, 1-pump line for kettle, misc. tear
           off tools, 2-duel wheel barrows, 2-large mop
           carts, 3-small mop carts, 4-heat guns, 4-job
           box, 1-trash shoot head, 8-100# propane tanks,
           2-adj paraphet cart safety equip., 1-wheel
           insulation carts, 1-decra cutting tool, 1-decra
           bending tool, 2-better spreader double, 1 55
           gal hot luger, 2-dual cartridge caulk guns,
           3-safety stands & safety lines, 1-chop saw,
           1-roll former berridge t-lock, 6-screw guns,
           misc power tools, 1-dragon wagon, safety
           harness kits, 3-safety tie off for metal roof,
           1-650 gallon kettle, 1-1200 gallon kettle, 1-360
           gallon kettle, 3-safety carts, 4-fiberglass
           ladders, 1-40ft aluminum ladder, 1-32ft
           aluminum ladder, 3-roof cutters, 1-power
           brooms, 1-spray rig, 1-omg pace cart, 1-5000lb
           forklift, 1-heat weld robot for modified, 1-rhino
           bond kit (STOLEN), 1-ga. steel 4x8x4 forklift
           dumpster, 1-gp 3300 watt generator, 4-work
           lights, 1-40 ft karnex                                                           $0.00                           $87,525.00




 51.       Total of Part 8.                                                                                             $272,625.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 6
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                                    Case: 16-12511                   Doc: 1     Filed: 06/28/16        Page: 13 of 50


 Debtor         MR Roof Inc.                                                                 Case number (If known)
                Name

54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                    page 7
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 Debtor          MR Roof Inc.                                                                                        Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                     Current value of real
                                                                                                     personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $2,724.76

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $1,094,295.59

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $272,625.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,369,645.35             + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $1,369,645.35




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 8
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                                      Case: 16-12511                    Doc: 1          Filed: 06/28/16             Page: 15 of 50

 Fill in this information to identify the case:

 Debtor name         MR Roof Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                      Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                  Amount of claim             Value of collateral
                                                                                                                                                  that supports this
                                                                                                                      Do not deduct the value     claim
                                                                                                                      of collateral.
       Ford Motor Credit
 2.1                                                                                                                             Unknown                 $35,000.00
       Company                                        Describe debtor's property that is subject to a lien
       Creditor's Name                                2013 Ford Crew Cab Eco Boost XLT F150
                                                      with 68K miles
       PO Box 650575
       Dallas, TX 75265
       Creditor's mailing address                     Describe the lien
                                                      Auto
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Ford Motor Credit
 2.2                                                                                                                             Unknown                 $35,000.00
       Company                                        Describe debtor's property that is subject to a lien
       Creditor's Name                                2013 Ford F150 4 door Crew Cab Eco Boost
                                                      XLT with 70K miles
       PO Box 650575
       Dallas, TX 75265
       Creditor's mailing address                     Describe the lien
                                                      Auto
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 2
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                                       Case: 16-12511                   Doc: 1          Filed: 06/28/16             Page: 16 of 50

 Debtor       MR Roof Inc.                                                                             Case number (if know)
              Name

            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.3    JP Morgan Chase Bank                          Describe debtor's property that is subject to a lien                          $0.00             $9,000.00
        Creditor's Name                               2010 Ford F150 2 door single cab with 260K
                                                      miles
        P.O. Box 901076
        Fort Worth, TX 76101
        Creditor's mailing address                    Describe the lien
                                                      Auto
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.4    Marlin Leasing                                Describe debtor's property that is subject to a lien                     $69,000.00           $69,000.00
        Creditor's Name                               Electric Shear & Brake Lease
        PO Box 13604
        Philadelphia, PA 19101
        Creditor's mailing address                    Describe the lien
                                                      Lease
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.              $69,000.00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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                                    Case: 16-12511                   Doc: 1         Filed: 06/28/16                     Page: 17 of 50

 Fill in this information to identify the case:

 Debtor name         MR Roof Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $647,004.08
           ABC Supply Co.                                                       Contingent
           PO Box 842450                                                        Unliquidated
           Dallas, TX 75284                                                     Disputed
           Date(s) debt was incurred
                                                                                              Priarie House, Commercial, Felgar Hall, Fairview
                                                                             Basis for the claim:
           Last 4 digits of account number      several accounts             Elem, The Frank, N. Walker, At Home Store, Bob Moore Nissan,
                                                                             Collinsville HS, Edmon Low, Lake Murray, Norman North HS,
                                                                             Watonga, Weleetka
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $6,435.00
           AGP                                                                  Contingent
           201 N. Broadway Ste. 210                                             Unliquidated
           Oklahoma City, OK 73160                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $65,011.79
           Ahern Rentals                                                        Contingent
           PO Box 271390                                                        Unliquidated
           Las Vegas, NV 89127                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    debt
           Last 4 digits of account number      9195
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $5,000.00
           Alaco Ladder Company                                                 Contingent
           5167 G. Street                                                       Unliquidated
           Chino, CA 91710                                                      Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 18
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                                    Case: 16-12511                   Doc: 1         Filed: 06/28/16                   Page: 18 of 50

 Debtor       MR Roof Inc.                                                                            Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $864.00
          Alejandro Diaz                                                        Contingent
          3620 SW 42nd                                                          Unliquidated
          Oklahoma City, OK 73119                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    employee owed
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $900.00
          Alfredo Castillo                                                      Contingent
          501 SE 44th Lot #12                                                   Unliquidated
          Oklahoma City, OK 73129                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    employee owed
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,090.03
          AM Supply                                                             Contingent
          4701 NW 10th                                                          Unliquidated
          Oklahoma City, OK 73127                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       1060
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $150,000.00
          American Builders & Contractors Supply C                              Contingent
          106 Decker Ct. Ste. 100                                               Unliquidated
          Irving, TX 75062                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       4500
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,200,000.00
          American Contractors Indemnity Co.                                    Contingent
          601 S. Figueroa St. Ste. 1600                                         Unliquidated
          Los Angeles, CA 90017                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $500.00
          American Express                                                      Contingent
          PO Box 650448                                                         Unliquidated
          Dallas, TX 75265                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,023.68
          American Propane                                                      Contingent
          1509 Exchange Ave.                                                    Unliquidated
          Oklahoma City, OK 73108                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       5001
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 2 of 18
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 Debtor       MR Roof Inc.                                                                            Case number (if known)
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,045.36
          ARA Equip. Rentals & Sales                                            Contingent
          2318 W. Gore Blvd                                                     Unliquidated
          Lawton, OK 73505                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       6288
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $33,210.00
          Armando J. Rosell, Esq                                                Contingent
          210 Park Ave.                                                         Unliquidated
          Oklahoma City, OK 73102                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,333.36
          B&B Sanitation                                                        Contingent
          PO Box 169                                                            Unliquidated
          Meno, OK 73760                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       3344
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Bank of America                                                       Contingent
          P.O. Box 15796                                                        Unliquidated
          Wilmington, DE 19886                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       6354
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,000.00
          Bank of America                                                       Contingent
          P.O. Box 15796                                                        Unliquidated
          Wilmington, DE 19886                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       3248
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,223.31
          Berridge Manufacturing                                                Contingent
          6515 Fratt Rd.                                                        Unliquidated
          San Antonio, TX 78218                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $85,000.00
          Blueline Rentals                                                      Contingent
          PO Box 840062                                                         Unliquidated
          Dallas, TX 75284                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       4916
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 3 of 18
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 Debtor       MR Roof Inc.                                                                            Case number (if known)
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Boldt Company                                                         Contingent
          101 W. Hefner Rd.                                                     Unliquidated
          Oklahoma City, OK 73114                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Eufaula Public Schools Kitchen Addition
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $60,000.00
          Capital One                                                           Contingent
          PO Box 60599                                                          Unliquidated
          City Of Industry, CA 91716                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       several accounts
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,482.00
          Carlisle Roofing Systems                                              Contingent
          21485 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       1874
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,200.00
          Chase Bank                                                            Contingent
          PO Box 78068                                                          Unliquidated
          Phoenix, AZ 85062                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       3103
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,700.00
          Chase Bank                                                            Contingent
          PO Box 659732                                                         Unliquidated
          San Antonio, TX 78265                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       2536
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $105,000.00
          Chase Bank                                                            Contingent
          PO Box 6026                                                           Unliquidated
          Chicago, IL 60680                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       0009
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $75,000.00
          Chase Bank                                                            Contingent
          PO Box 6026                                                           Unliquidated
          Chicago, IL 60680                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 4 of 18
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 Debtor       MR Roof Inc.                                                                            Case number (if known)
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,597.30
          Cintas                                                                Contingent
          06445 NE 42nd St.                                                     Unliquidated
          Oklahoma City, OK 73105                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       6568
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $738,525.00
          City of El Reno                                                       Contingent
          101 N. Choctaw                                                        Unliquidated
          El Reno, OK 73036                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Mercy Hospital
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $216.58
          City of Moore                                                         Contingent
          P.O. Box 6830                                                         Unliquidated
          Oklahoma City, OK 73160                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,159.79
          Cleveland County Treasurer                                            Contingent
          201 S Jones St., Ste. 100                                             Unliquidated
          Norman, OK 73069                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $131,146.00
          CMS Willowbrook                                                       Contingent
          3108 S. 9th St.                                                       Unliquidated
          Chickasha, OK 73018                                                   Disputed
          Date(s) debt was incurred
                                                                                          OSU Edmon Low Library, City of Del City Public
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Works Admin Building
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $112,000.00
          CNA Insurance                                                         Contingent
          PO Box 790094                                                         Unliquidated
          Saint Louis, MO 63179                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       3092
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,000.00
          Crosby                                                                Contingent
          317 SE 61st St.                                                       Unliquidated
          Oklahoma City, OK 73149                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,200.00
          Crossland Rental                                                      Contingent
          44 SW 44th St.                                                        Unliquidated
          Oklahoma City, OK 73109                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $864.00
          Daniel Chavez                                                         Contingent
          3620 SW 42nd                                                          Unliquidated
          Oklahoma City, OK 73119                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    employee owed
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Daniel Wedman                                                         Contingent
          3612 NW 133rd Place                                                   Unliquidated
          Oklahoma City, OK 73142                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    employee owed
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,376.36
          Discover                                                              Contingent
          PO Box 790213                                                         Unliquidated
          Saint Louis, MO 63179                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       9514
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,070.00
          Dri-Design                                                            Contingent
          PO Box 1286                                                           Unliquidated
          Holland, MI 49422                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $41,135.93
          Edmond Sheet Metal                                                    Contingent
          30 W. 8th St.                                                         Unliquidated
          Edmond, OK 73003                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       mrroo
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,458.27
          Fast Lube                                                             Contingent
          804 N. Eastern Ave.                                                   Unliquidated
          Oklahoma City, OK 73160                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,000.00
          Firestone Building Products                                           Contingent
          250 W. 96th St.                                                       Unliquidated
          Indianapolis, IN 46260                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       8581
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,423.00
          Flintco LLC                                                           Contingent
          2302 S. Prospect                                                      Unliquidated
          Oklahoma City, OK 73129                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    American Fidelity Parking Garage
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $44,511.80
          Ford Motor Co.                                                        Contingent
          PO Box 650575                                                         Unliquidated
          Dallas, TX 75265                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    3750, 4586, 2013
          Last 4 digits of account number       several accounts
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $600.00
          Fraternity Advising                                                   Contingent
          2301 W. I-35 Service Rd.                                              Unliquidated
          Oklahoma City, OK 73112                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $500.00
          GAF Materials Corp                                                    Contingent
          1 Campus Dr.                                                          Unliquidated
          Parsippany, NJ 07054                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,765.00
          GC Services                                                           Contingent
          PO Box 1389                                                           Unliquidated
          Copperas Cove, TX 76522                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $350.00
          Gill Reprographics                                                    Contingent
          7001 N. Sante Fe.                                                     Unliquidated
          Oklahoma City, OK 73116                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,361.00
          Guys Gutters                                                          Contingent
          3805 N. Market Ave.                                                   Unliquidated
          Shawnee, OK 74804                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,300.00
          Hernandez Roofing & Construction                                      Contingent
          2551 W. Tours Rd.                                                     Unliquidated
          West, TX 76691                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,000.00
          Hertz                                                                 Contingent
          PO Box 650280                                                         Unliquidated
          Dallas, TX 75265                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       4103
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,000.00
          Home Depot                                                            Contingent
          PO Box 900130                                                         Unliquidated
          Louisville, KY 40290                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       4900
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,434.00
          Insurance Agency of Mid America                                       Contingent
          10009 S. Penn Building E.                                             Unliquidated
          Oklahoma City, OK 73159                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       4954
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,340.00
          Integrated Electric                                                   Contingent
          PO Box 30335                                                          Unliquidated
          Edmond, OK 73003                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $170,000.00
          JE Dunn Construction                                                  Contingent
          4 East Sheridan Ste. 200                                              Unliquidated
          Oklahoma City, OK 73140                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    OSU 4th St Parking Garage, OU Jenkins Ave. Parking
          Last 4 digits of account number                                    Facility
                                                                             Is the claim subject to offset?     No       Yes




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 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,968.75
          Jesus Franco                                                          Contingent
          3100 SW 20th St.                                                      Unliquidated
          Oklahoma City, OK 73108                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    employee owed
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Jesus Larios                                                          Contingent
          3005 SW 61st                                                          Unliquidated
          Oklahoma City, OK 73159                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,500.00
          Joe Montalvo                                                          Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    debt
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,505.75
          Jorge Archan                                                          Contingent
          1115 SW 31st                                                          Unliquidated
          Oklahoma City, OK 73109                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    employee owed
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $500,000.00
          Lingo Construction Services                                           Contingent
          PO Box 850369                                                         Unliquidated
          Yukon, OK 73085                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    The Frank Metal Roof, The Frank TPO Roof
          Last 4 digits of account number       2591
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,261.81
          Lowe's                                                                Contingent
          P.O. Box 530914                                                       Unliquidated
          Atlanta, GA 30353                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       0729
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,000.00
          Lowe's Commercial Services                                            Contingent
          PO Box 530970                                                         Unliquidated
          Atlanta, GA 30353                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       0089
                                                                             Is the claim subject to offset?     No       Yes




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 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $113,000.00
          M&R Roofing                                                           Contingent
          644 Pleasant Vista Dr.                                                Unliquidated
          Dallas, TX 75207                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,500,000.00
          Manhattan Construction                                                Contingent
          5601 S. 122nd E. Ave.                                                 Unliquidated
          Tulsa, OK 74146                                                       Disputed
          Date(s) debt was incurred
                                                                                            Praire House Assisted Living Center, Lake Murray
                                                                             Basis for the claim:
          Last 4 digits of account number                                    State Park Lodge & Cabins
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $70,000.00
          Marlin Business Bank                                                  Contingent
          POBox 13604                                                           Unliquidated
          Philadelphia, PA 19101                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       1512
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,200.00
          Matrix Business Systems, Inc.                                         Contingent
          6005 NW 63rd St. #100                                                 Unliquidated
          Oklahoma City, OK 73132                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       4109
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,500.00
          MBCI                                                                  Contingent
          7000 S. Eastern                                                       Unliquidated
          Oklahoma City, OK 73149                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       2317
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,103.75
          Medardo Escobar                                                       Contingent
          2728 SW 35th St.                                                      Unliquidated
          Oklahoma City, OK 73119                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    employee owed
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $702,400.00
          Moore Public Schools                                                  Contingent
          1500 SE 4th St.                                                       Unliquidated
          Oklahoma City, OK 73160                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Fairview Elem
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,275.00
          MRC Lifting Services                                                  Contingent
          1217 NW 2nd                                                           Unliquidated
          Oklahoma City, OK 73106                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,200.00
          National Construction Rentals                                         Contingent
          PO Box 4503                                                           Unliquidated
          Pacoima, CA 91333                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       0696
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $234,000.00
          National Funding                                                      Contingent
          9820 Towne Centre Dr.                                                 Unliquidated
          San Diego, CA 92121                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $550.00
          Naylor, LLC                                                           Contingent
          PO Box 677251                                                         Unliquidated
          Dallas, TX 75267                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       2070
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,240.00
          North Star                                                            Contingent
          12 Oak Dr.                                                            Unliquidated
          Shawnee, OK 74801                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Office Depot                                                          Contingent
          PO Box 78004                                                          Unliquidated
          Phoenix, AZ 85062                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       6850
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          OG& E                                                                 Contingent
          po box 24990                                                          Unliquidated
          Oklahoma City, OK 73124                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,000.00
          OMNI Construction/Joe Sherga                                          Contingent
          PO Box 892245                                                         Unliquidated
          Oklahoma City, OK 73189                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,188.00
          Pablo Cruz                                                            Contingent
          1308 SW 28th                                                          Unliquidated
          Oklahoma City, OK 73108                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    employee owed
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,440.00
          Placido Castillo                                                      Contingent
          621 SE 34th                                                           Unliquidated
          Oklahoma City, OK 73129                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    employee owed
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $400.00
          Porta John of Tulsa                                                   Contingent
          PO Box 580722                                                         Unliquidated
          Tulsa, OK 74158                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $400.00
          Primeco Services                                                      Contingent
          4140 SW 149                                                           Unliquidated
          Oklahoma City, OK 73170                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50.00
          Progressive Waste Solutions of TX, Inc.                               Contingent
          PO Box 819                                                            Unliquidated
          Iowa Park, TX 76367                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       4100
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,000.00
          Reeder Construction                                                   Contingent
          112 NW 132nd St.                                                      Unliquidated
          Oklahoma City, OK 73114                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,000.00
          Request Sevices                                                       Contingent
          7608 NW 29th                                                          Unliquidated
          Bethany, OK 73008                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $55,000.00
          Richard Silvey                                                        Contingent
          532 Old English Rd.                                                   Unliquidated
          Edmond, OK 73003                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $4,000,000.00
          RLI Surety                                                            Contingent
          9025 N. Lindbergh Dr.                                                 Unliquidated
          Peoria, IL 61615                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $200,000.00
          Roofing Supply Group                                                  Contingent
          PO Box 840567                                                         Unliquidated
          Dallas, TX 75284                                                      Disputed
          Date(s) debt was incurred
                                                                                              Bob Moore Audi, Bob Moore Nissan, Dunkin Donuts,
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Fairview, Elem., Felgar Hall, The Frank TPO, Norman North, Will
                                                                             Rogers Elem.
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,233.75
          Rosalio Martinez                                                      Contingent
          1151 SW 31st                                                          Unliquidated
          Oklahoma City, OK 73109                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    employee owed
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,260,000.00
          Ross Group                                                            Contingent
          10159 E. 11th St. Ste. 200                                            Unliquidated
          Tulsa, OK 74128                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Fort Sill AAFES Shopping Center, Altus Bldg. 193
          Last 4 digits of account number                                    Reno
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $509,000.00
          Roth (Sodexo) Construction                                            Contingent
          3847 Crum Rd.                                                         Unliquidated
          Oklahoma City, OK 73154                                               Disputed
          Date(s) debt was incurred
                                                                                          Federick USPS, Weleetka USPS, Watonga USPS,
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Wagoner USPS, Shamrock USPS
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       MR Roof Inc.                                                                            Case number (if known)
              Name

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,545.00
          Safety Rail Source LLC                                                Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    debt
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,781.84
          Salvador Franco                                                       Contingent
          101 SE 39th                                                           Unliquidated
          Oklahoma City, OK 73129                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    employee owed
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,869.00
          Samuel Almanza                                                        Contingent
          2508 SW 44th                                                          Unliquidated
          Oklahoma City, OK 73119                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    employee owed
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $571.34
          Shell Fleet                                                           Contingent
          Processing Center                                                     Unliquidated
          PO Box 689010                                                         Disputed
          Des Moines, IA 50368
                                                                             Basis for the claim:    debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Soprema                                                               Contingent
          PO Box 75755                                                          Unliquidated
          Cleveland, OH 44101                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,765.00
          Spec- Lincoln Elem                                                    Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number       rroo                         Basis for the claim:    debt
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,500.00
          Sprint                                                                Contingent
          po box 660075                                                         Unliquidated
          Dallas, TX 75266                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       2317
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       MR Roof Inc.                                                                            Case number (if known)
              Name

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $619.00
          Standard Roofing Co.                                                  Contingent
          19 NW 16th st.                                                        Unliquidated
          Oklahoma City, OK 73103                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Dunkin Donuts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $55,000.00
          Sunbelt Vacuum                                                        Contingent
          PO Box 598                                                            Unliquidated
          Palmer, TX 75152                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       5466
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,930.54
          Sunstate Equipment Co.                                                Contingent
          P.O. Box 52581                                                        Unliquidated
          Phoenix, AZ 85072                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       2575
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $200.00
          Superior Equipment & Supply                                           Contingent
          4650 Mansfield HWY Ste. 200                                           Unliquidated
          Fort Worth, TX 76119                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       6378
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $500,000.00
          Timberlake Construction                                               Contingent
          7613 N. Classen Blvd.                                                 Unliquidated
          Oklahoma City, OK 73154                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Norman North HS, Bob Moore Audi
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $400,817.00
          Trigon General Contractors                                            Contingent
          11345 East 60th Place                                                 Unliquidated
          Tulsa, OK 74146                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Will Rogers Elem Addition, Lincoln Elem
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,800.00
          United Rentals                                                        Contingent
          1124 George Nigh Expressway                                           Unliquidated
          McAlester, OK 74501                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       7905
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       MR Roof Inc.                                                                            Case number (if known)
              Name

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $450,000.00
          University of Oklahoma                                                Contingent
          2750 Venture                                                          Unliquidated
          Norman, OK 73069                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Felgar Hall
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,000.00
          Valero                                                                Contingent
          P.O. Box 300                                                          Unliquidated
          Amarillo, TX 79105                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       0754
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $600,000.00
          Vannoy Construction                                                   Contingent
          631 McGee Rd.                                                         Unliquidated
          Anderson, SC 29625                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    At Home Store
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $31,700.12
          Visa                                                                  Contingent
          po box 94014                                                          Unliquidated
          Palatine, IL 60094                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       0196
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,000.00
          Waco of Oklahoma                                                      Contingent
          PO Box 14008                                                          Unliquidated
          Oklahoma City, OK 73113                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       1597
                                                                             Is the claim subject to offset?     No       Yes

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $104,000.00
          Walco                                                                 Contingent
          215 Classen Blvd.                                                     Unliquidated
          Oklahoma City, OK 73106                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number       1535
                                                                             Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,113.54
          Waste Connections of OK/Meno                                          Contingent
          4625 S. Rockwell                                                      Unliquidated
          Oklahoma City, OK 73179                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       MR Roof Inc.                                                                            Case number (if known)
              Name

 3.110     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $34,025.00
           Weatherman Mechanical                                                Contingent
           4528 Enterprise Pl.                                                  Unliquidated
           Oklahoma City, OK 73128                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.111     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $200,000.00
           West End                                                             Contingent
                                                                                Unliquidated
           Date(s) debt was incurred                                            Disputed
           Last 4 digits of account number                                                 Felgar Hall, Fairview, The Frank Metal, Lake Murray,
                                                                             Basis for the claim:
                                                                             Bob Moore Audi, Norman North, OSU Edmon Low
                                                                             Is the claim subject to offset?      No       Yes

 3.112     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $210,954.18
           West End Roofing & Siding                                            Contingent
           2524 SE 15th St.                                                     Unliquidated
           Oklahoma City, OK 73129                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Francis Walkups
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.113     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $2,300.00
           Western Fireproofing Co of TX                                        Contingent
           1501 W. Port Rd.                                                     Unliquidated
           Kansas City, MO 64111                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.114     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $11,500.00
           Wiijo                                                                Contingent
           109 NE 38th                                                          Unliquidated
           Oklahoma City, OK 73105                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    debt
           Last 4 digits of account number      2916
                                                                             Is the claim subject to offset?      No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any
 4.1       Alfred Medina
           6301 Waterford Blvd. Ste. 110                                                              Line     3.61
           Oklahoma City, OK 73118
                                                                                                             Not listed. Explain

 4.2       Farha Law, PLLC
           6301 Waterford Blvd. Ste. 110                                                              Line     3.61
           Oklahoma City, OK 73118
                                                                                                             Not listed. Explain




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 Debtor       MR Roof Inc.                                                                        Case number (if known)
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.3       Fellers Snider
           100 N. Broadway Ste. 1700                                                             Line     3.58
           Oklahoma City, OK 73102
                                                                                                        Not listed. Explain

 4.4       Fuselier & Associates
           637 Presidential Dr.                                                                  Line     3.85
           Richardson, TX 75081
                                                                                                        Not listed. Explain

 4.5       Fuselier & Associates
                                                                                                 Line     3.112

                                                                                                        Not listed. Explain

 4.6       HCC
           601 S. Figueroa St. Ste. 1600                                                         Line     3.9
           Los Angeles, CA 90017
                                                                                                        Not listed. Explain

 4.7       ICS National Collection Service
           PO Box 470037                                                                         Line     3.114
           Tulsa, OK 74147
                                                                                                        Not listed. Explain

 4.8       Klatt Law Firm
           925 E. 4th St.                                                                        Line     3.3
           Waterloo, IA 50703
                                                                                                        Not listed. Explain

 4.9       Matthews, Shiels, Knott, Eden, Davis & B
           8131 LBJ Freeway Ste. 700                                                             Line     3.85
           Dallas, TX 75251
                                                                                                        Not listed. Explain

 4.10      Matthews, Shiels, Knott, Eden, Davis & B
           8131 LBJ Freeway STe. 700                                                             Line     3.112
           Dallas, TX 75251
                                                                                                        Not listed. Explain

 4.11      Pate & Knarr
           Two Leadership Square Ste. 418                                                        Line     3.7
           Oklahoma City, OK 73102
                                                                                                        Not listed. Explain

 4.12      Salisian Lee LLP
           550 South Hope ST. Ste. 750                                                           Line     3.70
           Los Angeles, CA 90071
                                                                                                        Not listed. Explain

 4.13      Trigon
           11345 East 60th Place                                                                 Line     3.85
           Tulsa, OK 74146
                                                                                                        Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                         0.00
 5b. Total claims from Part 2                                                                       5b.    +     $                15,985,265.01

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                   15,985,265.01



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 Fill in this information to identify the case:

 Debtor name         MR Roof Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.        State what the contract or                   contract for job on
             lease is for and the nature of               Eufaula Public Schools
             the debtor's interest                        kitchen addition

                  State the term remaining
                                                                                        Boldt Company
             List the contract number of any                                            101 W. Hefner Road
                   government contract                                                  Oklahoma City, OK 73114


 2.2.        State what the contract or                   contract for job on
             lease is for and the nature of               Mercy Hospital
             the debtor's interest

                  State the term remaining
                                                                                        City of ElReno
             List the contract number of any                                            101 N. Choctaw
                   government contract                                                  El Reno, OK 73036


 2.3.        State what the contract or                   contract on jobs for
             lease is for and the nature of               OSU Edmon Law
             the debtor's interest                        Library and City of Del
                                                          City Public Works
                                                          Admin Building
                  State the term remaining
                                                                                        CMS Willowbrook
             List the contract number of any                                            3108 S. 9th St.
                   government contract                                                  Chickasha, OK 73018


 2.4.        State what the contract or                   contract for job on the
             lease is for and the nature of               American Fidelity
             the debtor's interest                        parking garage

                  State the term remaining
                                                                                        Flintco LLC
             List the contract number of any                                            2302 S. Prospect
                   government contract                                                  Oklahoma City, OK 73129




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 3
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 Debtor 1 MR Roof Inc.                                                                           Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.5.        State what the contract or                   Contract for job at OSU
             lease is for and the nature of               4th st. parking garage
             the debtor's interest                        and OU Jenkins Av.
                                                          parking facility
                  State the term remaining
                                                                                         JE Dunn Construction
             List the contract number of any                                             4 East Sheridan Suite 200
                   government contract                                                   Oklahoma City, OK 73104


 2.6.        State what the contract or                   contract for job on The
             lease is for and the nature of               Frank Metal Roof and
             the debtor's interest                        the Frank TPO Roof

                  State the term remaining
                                                                                         Lingo Construction
             List the contract number of any                                             123 N.W. 8th
                   government contract                                                   Oklahoma City, OK 73102


 2.7.        State what the contract or                   contract for jobs at
             lease is for and the nature of               Prairie House Assisted
             the debtor's interest                        Living Center and Lake
                                                          Murray State Park
                                                          Lodge & Cabins
                  State the term remaining
                                                                                         Manhattan Construction
             List the contract number of any                                             5601 S. 122nd E Ave
                   government contract                                                   Tulsa, OK 74146


 2.8.        State what the contract or                   contract for job at
             lease is for and the nature of               Fairview Elementary
             the debtor's interest

                  State the term remaining
                                                                                         Moore Public Schools
             List the contract number of any                                             1500 SE 4th St.
                   government contract                                                   Moore, OK 73160


 2.9.        State what the contract or                   contract for job at Fort
             lease is for and the nature of               Sill AAFES shopping
             the debtor's interest                        center and Altus Bldg.
                                                          193 Renovation
                  State the term remaining
                                                                                         Ross Group
             List the contract number of any                                             10159 E. 11th St. Ste. 200
                   government contract                                                   Tulsa, OK 74128


 2.10.       State what the contract or                   contract for job at
             lease is for and the nature of               Frederick USPS,
             the debtor's interest                        Welletka USPS,
                                                          Watonga USPS,                  Rox (sodexo) Construction
                                                          Wagoner USPS,                  3847 Crum Rd.
                                                          Shamrock USPS                  Youngstown, OH 44515
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 2 of 3
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 Debtor 1 MR Roof Inc.                                                                          Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.11.       State what the contract or                   contract for job at
             lease is for and the nature of               Norman North HS and
             the debtor's interest                        Bob Moore Audi

                  State the term remaining
                                                                                        Timberlake Construction
             List the contract number of any                                            7613 N. Classen Blvd
                   government contract                                                  Oklahoma City, OK 73154


 2.12.       State what the contract or                   contract for job at Will
             lease is for and the nature of               Rogers Elementary and
             the debtor's interest                        Lincoln Elementary

                  State the term remaining
                                                                                        Trigon General Contractors
             List the contract number of any                                            11345 East 60th Place
                   government contract                                                  Tulsa, OK 74146


 2.13.       State what the contract or                   Contract for job at the
             lease is for and the nature of               At Home store
             the debtor's interest

                  State the term remaining
                                                                                        Vannoy Construction
             List the contract number of any                                            631 McGee Rd
                   government contract                                                  Anderson, SC 29625




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         MR Roof Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      Ronald & Mavis                    2901 SW 127th St.                                                                    D
             Rogers                            Oklahoma City, OK 73170                                                              E/F
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         MR Roof Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       For prior year:                                                                             Operating a business                             $5,160,210.00
       From 1/01/2015 to 12/31/2015
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $4,555,052.00
       From 1/01/2014 to 12/31/2014
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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 Debtor       MR Roof Inc.                                                                              Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    Beacon Sales Acquisition,                        civil                      Carter County                                 Pending
               Inc., ET. AL.                                                                                                             On appeal
               v.
                                                                                                                                         Concluded
               Mr. Roofing, Inc., ET. AL
               CJ-2016-00091

       7.2.    Beacon Sales Acquisition,                        civil                      Carter County                                 Pending
               Inc.                                                                                                                      On appeal
               v.
                                                                                                                                         Concluded
               Mr. Roofing, Inc., ET, AL
               CJ-2016-00092

       7.3.    National Funding                                 civil                                                                    Pending
               v.                                                                                                                        On appeal
               Mr. Roof, Inc.
                                                                                                                                         Concluded

       7.4.    AM Supply                                        civil                                                                    Pending
               v.                                                                                                                        On appeal
               Mr. Roof, Inc.
                                                                                                                                         Concluded

       7.5.    Ahern Rentals                                    civil                                                                    Pending
               v.                                                                                                                        On appeal
               Mr. Roof, Inc.
                                                                                                                                         Concluded

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 Debtor       MR Roof Inc.                                                                                 Case number (if known)



               Case title                                       Nature of case               Court or agency's name and             Status of case
               Case number                                                                   address
       7.6.    M&R Roofing & Aldred                             civil                                                                    Pending
               Medina                                                                                                                    On appeal
               v.
                                                                                                                                         Concluded
               Mr. Roof, Inc.


       7.7.    Lingo Construction                               civil                        Oklahoma County                             Pending
               v.                                                                                                                        On appeal
               Mr. Roof, Inc.
                                                                                                                                         Concluded
               CJ-2016-2591

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                      lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).
       Equipment lost due to general                                                                                                                        $2,125.00
       contractors not letting clients to
       get property when they were fired.
       15,500 Watt Generator $2000.00
       Battery Charger $125.00

       Equipment lost due to general                                                                                                                        $1,325.00
       contractors not letting them get
       property when they were fired.
       4 Insulation Carts $2000.00
       BAK Robot for TPO $3500.00
       5 new heat guns $2000.00
       600' Extension cords $750.00
       5 screw guns $500.00


 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.


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 Debtor        MR Roof Inc.                                                                              Case number (if known)



           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates            Total amount or
                the transfer?                                                                                                                            value
                Address
       11.1.    Reese Allen, Attorney
                10300 Greenbriar Place
                Oklahoma City, OK 73159                                                                                                               $3,000.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers           Total amount or
                                                                                                                      were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                   Date transfer          Total amount or
               Address                                          payments received or debts paid in exchange              was made                        value
       13.1                                                     2011 F350 vehicle. $6300.00, sold for
       .    Unknown                                             value of amount to get out of shop before
                                                                mechanic lien                                                                         $6,300.00

               Relationship to debtor
               N/A


 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.




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 Debtor      MR Roof Inc.                                                                               Case number (if known)



                Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                the debtor provides                                                     and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or          Date account was              Last balance
               Address                                          account number            instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
       Village at Southcreek                                         Mavis & Ronald Rogers                Business Paperwork                        No
       1011 SW 134th                                                                                                                                Yes
       Oklahoma City, OK 73170



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None



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 Debtor      MR Roof Inc.                                                                               Case number (if known)



 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Mr. Roof, Inc.                                   Roofing                                          EIN:
             1905 S. Eastern Ave.
             Moore, OK 73160                                                                                   From-To      1995- Present


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Mr. Roof Inc.
                    1905 S. Eastern Ave.,
                    Moore, OK 73160


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 Debtor      MR Roof Inc.                                                                               Case number (if known)



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Mavis Rogers                                   2901 SW 129th                                       President                             51%
                                                      Oklahoma City, OK 73170

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Ron Rogers                                     2901 SW 127th                                       Vice President                        49%
                                                      Oklahoma City, OK 73170



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.
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 Debtor      MR Roof Inc.                                                                               Case number (if known)




    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation




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 Debtor      MR Roof Inc.                                                                               Case number (if known)




 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         June 28, 2016

 /s/ Mavis or Ron Rogers                                                Mavis or Ron Rogers
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President / VP

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Western District of Oklahoma
 In re       MR Roof Inc.                                                                                     Case No.
                                                                                 Debtor(s)                    Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     3,000.00
             Prior to the filing of this statement I have received                                        $                     3,000.00
             Balance Due                                                                                  $                        0.00

2.     $    335.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     June 28, 2016                                                               /s/ Reese Allen
     Date                                                                        Reese Allen 215
                                                                                 Signature of Attorney
                                                                                 Allen & King, P.C.
                                                                                 10300 Greenbriar Place
                                                                                 Oklahoma City, OK 73159
                                                                                 (405) 691-2555 Fax: (405) 691-5172
                                                                                 reesallen@aol.com
                                                                                 Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Western District of Oklahoma
 In re      MR Roof Inc.                                                                                     Case No.
                                                                                   Debtor(s)                 Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the President / VP of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       June 28, 2016                                              /s/ Mavis or Ron Rogers
                                                                        Mavis or Ron Rogers/President / VP
                                                                        Signer/Title

 Date: June 28, 2016                                                    /s/ Reese Allen
                                                                        Signature of Attorney
                                                                        Reese Allen 215
                                                                        Allen & King, P.C.
                                                                        10300 Greenbriar Place
                                                                        Oklahoma City, OK 73159
                                                                        (405) 691-2555 Fax: (405) 691-5172




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                                                               United States Bankruptcy Court
                                                                     Western District of Oklahoma
 In re      MR Roof Inc.                                                                                     Case No.
                                                                                  Debtor(s)                  Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for MR Roof Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 June 28, 2016                                                        /s/ Reese Allen
 Date                                                                 Reese Allen 215
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for MR Roof Inc.
                                                                      Allen & King, P.C.
                                                                      10300 Greenbriar Place
                                                                      Oklahoma City, OK 73159
                                                                      (405) 691-2555 Fax:(405) 691-5172
                                                                      reesallen@aol.com




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